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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


MILTON “BUTCH” JONES,
                                                            Criminal Case No. 01-80571
            Petitioner,                                     Civil Case No. 11-14381

v.                                                          Honorable John Corbett O’Meara

UNITED STATES OF AMERICA,

            Respondent.
                                                     /

                   ORDER DENYING CERTIFICATE OF APPEALABILITY

         This matter came before the court on petitioner Milton “Butch” Jones’ March 19, 2013 motion

for certificate of appealability. On August 14, 2012, the court entered an order that, among other

things, denied petitioner Jones’ expanded motion to vacate, set aside or correct sentence under 28

U.S.C. § 2255. It appears that this filing is a motion for reconsideration of that order, as it again

alleges that petitioner Jones was denied due process, that the Speedy Trial Act was violated, and his

constitutional rights were violated because of ineffective assistance of counsel.

         Pursuant to Local Rule 7.1(h)(1), a motion for reconsideration must be filed within 14 days

after entry of the order. Therefore, the motion is untimely.

         Furthermore, a motion for reconsideration “that merely present[s] the same issues ruled upon

by the court, either expressly or by reasonable implication” will not be granted. LR 7.1(h)(3). The

issues presented in the motion were ruled upon by the court in its August 14, 2012 opinion and

order.
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                                            ORDER

      It is hereby ORDERED that petitioner Jones’ March 19, 2013 motion for certificate of

appealability is DENIED.



                                             s/John Corbett O'Meara
                                             United States District Judge
Date: July 25, 2013




      I hereby certify that a copy of the foregoing document was served upon the parties of record
on this date, July 25, 2013, using the ECF system and/or ordinary mail.


                                             s/William Barkholz
                                             Case Manager




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